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                           UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
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 UNITED STATES OF AMERICA,                           Criminal No. 07-189(17) (JRT/JSM)

                                    Plaintiff,
                                                         ORDER ADOPTING
 v.                                                REPORT AND RECOMMENDATION
                                                       OF MAGISTRATE JUDGE
 DEBORAH JEAN LOMAX,

                            Defendant.
______________________________________________________________________________

       W Anders Folk, Assistant United States Attorney, OFFICE OF THE UNITED
       STATES ATTORNEY, 300 South Fourth Street, Suite 600, Minneapolis,
       Minnesota 55415, for plaintiff.

        Wayne G, Nelson, LAW OFFICES OF WAYNE G NELSON, 5500 Wayzata
        Boulevard, Suite 1025, Golden Valley, MN 55416, for defendant.


       The above matter comes before the Court upon the Report and Recommendation of

United States Magistrate Judge Janie S. Mayeron dated January 11, 2008. No objections have

been filed to that Report and Recommendation in the time period permitted.

       Based upon the Report and Recommendation of the Magistrate Judge, upon all of the

files, records and proceedings herein, now makes and enters the following Order.

       IT IS HEREBY ORDERED that:

       1.     Defendant’s Motion for Suppression of Statements [Docket No. 451] is DENIED.

       2.     Defendant’s Motion for Suppression of all Evidence Obtained Pursuant to the

       Execution of a Search Warrant [Docket No. 455] is DENIED.



DATED: February 11, 2008
at Minneapolis, Minnesota.                                 s/John R. Tunheim
                                                          JOHN R. TUNHEIM
                                                     United States District Judge
